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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

JACLYN PISCITELLI,                            :
                                              :
                Plaintiff,                    :     CIVIL ACTION
                                              :     NO. 3:19-CV-01589 (KAD)
v.                                            :
                                              :
UNIVERSITY OF SAINT JOSEPH,                   :
                                              :     JANUARY 28, 2020
                Defendant.                    :


                                ANSWER AND DEFENSES

         The Defendant University of Saint Joseph (“Defendant” or “USJ”) hereby

answers the Plaintiff’s Complaint dated October 9, 2019, as follows:

         1.    Paragraph 1 is denied to the extent that it alleges that Defendant violated

Title IX of the Educational Amendments of 1972, 20 U.S.C. § 1681, et seq.

         2.    Admitted.

         3.    As to the allegations of Paragraph 3, Defendant lacks knowledge or

information sufficient to form a belief as to their truth and therefore leaves Plaintiff to her

proof.

         4.    Admitted.

         5.    Paragraph 5 calls for a legal conclusion and Defendant therefore leaves

Plaintiff to her proof.

         6.    Paragraph 6 is denied to the extent that it alleges that Plaintiff began her

employment with Defendant on June 14, 2011. The remaining allegations of Paragraph

6 are admitted.

         7.    Admitted.

         8.    Admitted.
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         9.    It is admitted that Cardarelli held the title of Athletic Director until June 24,

2019, when a new female Athletic Director was hired. It is further admitted that

Cardarelli transitioned to his current role of Director of Clinical Experiences on May 17,

2019, and was no longer involved in any Athletic Department business or personnel

action after that date. The remaining allegations of Paragraph 9 are denied.

         10.   It is admitted that during her tenure as Associate Athletic Director, Plaintiff

received overall positive performance ratings. The remaining allegations of Paragraph

10 are denied.

         11.   As to the allegations of Paragraph 11, Defendant lacks knowledge or

information sufficient to form a belief as to their truth and therefore leaves Plaintiff to her

proof.

         12.   Defendant lacks knowledge or information sufficient to form a belief as to

Plaintiff’s professional goals and therefore leaves Plaintiff to her proof. The remaining

allegations of Paragraph 12 are denied.

         13.   It is admitted that Defendant announced in June 2017 that it would

become fully coeducational for the 2018-2019 academic year. The remaining

allegations of Paragraph 13 are denied.

         14.   Denied.

         15.   Admitted.

         16.   Admitted.

         17.   Admitted.

         18.   Denied.




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       19.    It is admitted that Glen Miller was hired in October 2017 as Associate

Director of Men’s Basketball and that his title changed to Associate Head Coach of

Men’s Basketball in September 2018. The remaining allegations of Paragraph 19 are

denied.

       20.    It is admitted that Calhoun and Miller worked together on the coaching

staff at UConn and that Calhoun recruited Miller to assist him in building a men’s

basketball program at USJ. The remaining allegations of Paragraph 20 are denied.

       21.    Denied.

       22.    Denied.

       23.    It is admitted that Ken Bedini is USJ’s Interim Vice President of Student

Affairs. It is further admitted that during the 2018-2019 academic year, Plaintiff and

Bedini met monthly to discuss USJ’s athletics program and department and to discuss

Plaintiff’s job performance. The remaining allegations of Paragraph 23 are denied.

       24.    Denied.

       25.    Denied.

       26.    Denied.

       27.    It is admitted that during her tenure as Associate Athletic Director, Plaintiff

had her own private office except during the 2017-2018 academic year, when she, like

all other members of the Athletic Department except the Athletic Director, shared an

office due to space constraints. The remaining allegations of Paragraph 27 are denied.

       28.    Denied.

       29.    Denied.

       30.    Denied.




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      31.    It is admitted that Plaintiff was USJ’s NCAA Compliance Coordinator. The

remaining allegations of Paragraph 31 are denied.

      32.    It is admitted that during her tenure as Associate Athletic Director, Plaintiff

had a private office except during the 2017-2018 academic year, when she shared an

office with two colleagues. The remaining allegations of Paragraph 32 are denied.

      33.    Denied.

      34.    It is admitted that Plaintiff asked Cardarelli for his input regarding where

she could take confidential telephone calls for the time period during which she did not

have her own private office and that Cardarelli suggested several places where Plaintiff

could find a quiet place to conduct confidential phone calls, including an empty locker

room. The remaining allegations of Paragraph 34 are denied.

      35.    Denied.

      36.    It is admitted that the introduction of new athletics teams in the 2018-2019

academic year resulted in an increased workload for many employees of USJ’s

Athletics Department. The remaining allegations of Paragraph 36 are denied.

      37.    It is admitted that Josh Ingham is male. The remaining allegations of

Paragraph 37 are denied.

      38.    It is admitted that Plaintiff discussed her workload with Cardarelli and

Bedini and requested a graduate assistant in the spring of 2018. The remaining

allegations of Paragraph 38 are denied.

      39.    Denied.

      40.    Denied.




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         41.   It is admitted that the swim coach complained about the timeliness of

coverage for certain events, and that in part to address this concern, USJ hired a part-

time employee who worked roughly twenty (20) hours per week on drafting articles for

the Athletics website and covering varsity sporting events. The remaining allegations of

Paragraph 41 are denied.

         42.   Denied.

         43.   As to the allegations of Paragraph 43, Defendant lacks knowledge or

information sufficient to form a belief as to their truth and therefore leaves Plaintiff to her

proof.

         44.   Paragraph 44 is denied to the extent that it alleges that Plaintiff, an

exempt employee, was entitled to “comp time.” As to the remaining allegations of

Paragraph 44, Defendant lacks knowledge or information sufficient to form a belief as to

their truth and therefore leaves Plaintiff to her proof.

         45.   As to the allegations of Paragraph 45, Defendant lacks knowledge or

information sufficient to form a belief as to their truth and therefore leaves Plaintiff to her

proof.

         46.   Denied.

         47.   Denied.

         48.   Denied.

         49.   Denied.

         50.   Denied.

         51.   Denied.

         52.   Denied.




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       53.    Denied.

       54.    Denied.

       55.    Denied.

       56.    Paragraph 56 is admitted to the extent that it alleges that there was a

meeting in or around October 2018 during which the Midnight Madness event was

discussed. The remaining allegations of Paragraph 56 are denied.

       57.    Paragraph 57 is denied to the extent that it alleges that Miller intentionally

failed to acknowledge or respond to e-mails or communications sent by Plaintiff. As to

the remaining allegations of Paragraph 57, Defendant lacks knowledge or information

sufficient to form a belief and therefore leaves Plaintiff to her proof.

       58.    Denied.

       59.    Paragraph 59 is admitted to the extent that it alleges that Plaintiff told

Bedini that Miller had not provided the name of a coach to attend the Midnight Madness

event. The remaining allegations of Paragraph 59 are denied.

       60.    Denied.

       61.    Denied.

       62.    It is admitted that on or about June 12, 2019, a meeting took place with

various staff from the Athletics Department, including Plaintiff, Miller, and the new

Athletics Director. The purpose of the meeting was to introduce the new Athletics

Director to the Athletics Department staff. The remaining allegations of Paragraph 62

are denied.

       63.    Denied.

       64.    Denied.




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         65.   Denied.

         66.   Denied.

         67.   Denied.

         68.   Denied.

         69.   Denied.

         70.   It is denied that Plaintiff made any complaints or reports as alleged in

Paragraph 70. The remaining allegations of Paragraph 70 are also denied.

         71.   It is admitted that beginning in the fall of 2017, Plaintiff expressed her

dissatisfaction with her role as Associate Athletic Director and that she was seeking a

new career path that would not involve working nights and weekends. It is further

admitted that Plaintiff informed Bedini that she was working with a professional

employment recruiter during the 2018-2019 academic year in order to find a new job.

The remaining allegations of Paragraph 71 are denied.

         72.   Denied.

         73.   It is admitted that on June 21, 2019, Plaintiff met with Spencer and Bedini

and was informed that her employment was terminated effective immediately. The

remaining allegations of Paragraph 73 are denied.

         74.   It is admitted that Bedini stated words to the effect of “we’re moving in a

new direction.” As to the remaining allegations of Paragraph 74, Defendant lacks

knowledge or information sufficient to form a belief and therefore leaves Plaintiff to her

proof.

         75.   Denied.

         76.   Admitted.




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        77.    Admitted.

        78.    Denied.

        79.    Denied.

        80.    Denied.

        81.    Denied.

        82.    Denied.

        83.    Denied.

                                AFFIRMATIVE DEFENSES

FIRST DEFENSE

        Plaintiff’s claims are barred, in whole or in part, by the applicable statutes of

limitations or administrative filing periods.

SECOND DEFENSE

        The Complaint fails, in whole or in part, to state a claim upon which relief can be

granted.

THIRD DEFENSE

        Defendant exercised reasonable care to prevent and promptly correct any

alleged discriminatory behavior, and Plaintiff failed to take advantage of the preventative

and corrective opportunities offered by Defendant or to otherwise avoid her alleged

harm.

FOURTH DEFENSE

        Defendant’s decision and actions, or failures to act, if any, concerning Plaintiff

were not discriminatory but were justified by legitimate, non-discriminatory reasons.




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FIFTH DEFENSE

       Plaintiff fails to state a claim upon which the relief sought can be granted.

SIXTH DEFENSE

       Plaintiff’s damages, if any, were caused by her own conduct and not by any legal

duty owed by Defendant to Plaintiff.

SEVENTH DEFENSE

       Plaintiff is not entitled to exemplary or punitive damages because Defendant did

not engage in any discriminatory practices with reckless indifference to Plaintiff’s rights

and Defendant’s good faith efforts to prevent discrimination bar any such award.

EIGHTH DEFENSE

       Plaintiff’s damages, if any, must be reduced to the extent that they have been

mitigated through subsequent earnings, or could have been mitigated through

reasonable diligence by Plaintiff.



                              RESERVATION OF RIGHTS

       Defendant reserves the right to assert additional defenses that may become

apparent or applicable during the course of this action.




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                            DEFENDANT – UNIVERSITY OF SAINT
                            JOSEPH


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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of January, 2020, a true and correct copy of

the foregoing document has been filed electronically and served on the parties via the

Court’s electronic filing system or by mail to anyone unable to accept electronic filings.

Parties may access this filing through the Court’s CM/ECF system.



                                          /s/ Patricia E. Reilly
                                          Patricia E. Reilly
